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EXHIBIT 35
 

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Mine, Ours, and Yours: |

A Father's Journey Through the Life and Death of a Child

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Mine, Ours, and Yours: A Father's Journey through the Life and
Death of a Child

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MINE, OURS, and YOURS

A Father’s Journey through
the Life and Death of a Child

Watson Jordan
 

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KENYA

s we built our new life outside of the school
environment, the energy I had spent working
on the triathlon needed a new place to live. I
traveled with my children during this time. We took both children
to each continent. This was a tremendous investment in them and
in our relationship and was a wonderful experience. Traveling
with our children was one of the best decisions of my life.
The idea came to me when we were in Maine on vacation.
It came to me out of the blue and clear as a bell. It was as close as
[have come to an inspired vision: The picture was taking both
Paul and Caroline to each continent. They were each around 14
when we began. Our travels together made wonderful memories
and added strong and lasting insights into their perspective on the
world. Additionally, these trips wove remarkable threads into the
fabric that is our relationships.
‘Caroline and I had a magical safari in Kenya. The children
I saw in Africa made an impression on me, that they needed help.
There were many places where water and food are not readily
available. But, perhaps more importantly, there was a shortage of
schools, and where there were schools, they were short on
teachers and supplies. Later, when I was traveling for work, I had
the great pleasure to attend several WE Charity days. WE Charity

is a non-profit organization that helps children provide aid and

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Mine, Ours, & Yours

support around the world. I attended three in total: Toronto,
Minneapolis, and Vancouver. At each one I was at a behind-the-
scenes event prior to the festivities. They have a program in which
you can fund a school as part of their five-pillar program in
community building. When I first heard about it I thought how
remarkable it would be to build a school. At the second one, I had
the thought of building a school for William. At the third WE
Charity day, I stepped forward and made the commitment. I was
going to fund a schoolhouse in Kenya in William’s memory.

Fundraising for the schoolhouse was similar to my efforts
for the triathlons. Asheville School had been willing to allow us to
build a scholarship fund, though the project was neither embraced
nor shunned by the institution; it had a sweet awkwardness. WE
Charity, on the other hand, was an engaged partner that was
prepared with fundraising, web-based tools, and support for our
outreach. Working with them was a wonderful experience.

So we began. I sent e-mails to everyone I knew. I posted to
Facebook and asked friends to promote as well. We called people,
and soon the money began to pour in. It was fantastic that WE
Charity provided a landing page and took credit cards. It made it
much easier for people to give and for us to track. Our initial goal
was $10,000, which would fund a schoolhouse, part of their five-

pillars program. The other pillars are medicine, water, agriculture,

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and commerce/economy. They believe that these five areas create
a sustainable foundation for a village to grow and prosper.

Our friend Dale Neal heard about our efforts working to
create meaning from William’s life and death. He was a reporter
for the local Asheville paper. He came over with a photographer,
took pictures, and interviewed our entire family. He wrote a
wonderful article.* There is something galvanizing about being in
the paper. It made our work seem somehow more real. It was a
powerful, legitimizing force, just like the article Travis Price had
written for the school magazine.

* http -//www.citizen-times.com/story/life/201 5/10/30/short-life-
inspires-african-school/74597 772/

We soon surpassed our original goal of $10,000. We
decided to keep going and follow our plan for the project. In
retrospect, this is a reminder that there are times when the project
or cause becomes substantial and takes on a life of its own. This
was the case with the Kenya school. I had waited years and been
unable to start, and then BANG! When I gathered myself and hit
the go button, away we went. In the end, we raised $18,226 for the
schoolhouse.

And then the miracle happened.

WE Charity came to us and said they had a matching grant
for our project. This brought the total benefit for the project up to
$36,452. They asked us how we wanted to apply the funding. We
decided to focus on a single village and fund all five pillars. By

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Mine, Ours, & Yours

funding the additional pillars, we had the opportunity to name or
honor someone for each pillar. This was fun.

We named the Health pillar after Frank Hintz’s father.
Frank is my best friend, and he was with me every step of the
way: He supplied the T-shirts for the triathlons and was critical in
my regaining momentum in the weeks following William’s death.
We named the Food and Agriculture pillar after Will Graham and
Rock Amick’s fathers. Both are friends from college who have
always been there for me in thought, word, and deed, when I have
struggled and when things have gone well. The Water pillar we
named after my infant sister Margaret. As I have written, she died
the day after she was born, and the day after my parents’ wedding
anniversary—just like William. My hope was that this would be
meaningful for my parents. The Economic pillar we named after
my friend Amos Kearns.* He was a contemporary of my father’s,
and we became friends as I struggled to make it on my own in my
30s.

*http://www.sprinklecaldwell.com/news/rich-in-strength/

So, in the end, we financed an entire village in Kenya. The
name of the village is Irkaat.* As of this writing, I have not
visited, but I look forward to spending time there and reading to
and with the children. I never dreamed of things going this well.

The entire project went much better than planned. All that was

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required was that I kept doing my part. As small as it was ... that

made all the difference.

* http://www. sprinklecaldwell.com/irkaat-kenya-school/

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